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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION



RICK MARTIN RODRIGUEZ,

      Plaintiff,

v.                                           Civil Action No.: 8:21-cv-1542


TRAVIS KENDRELL LOCUS and
ROYAL TRUCKING COMPANY,

      Defendant.
_________________________________/

                            NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants Royal Trucking

Company and Travis Kendrell Locus (“Defendants”), by counsel, hereby removes

this action from the Sixth Judicial Circuit, in and for Pasco County, Florida to the

United States District Court for the Middle District of Florida based on diversity

jurisdiction. The grounds for removal are as follows:

      I.     BACKGROUND

      1.     On February 3, 2021, Plaintiff filed a Complaint in the Sixth Judicial

Circuit, in and for Pasco County, Florida, Case. No. 2021-CA-000239. In the

Complaint, Plaintiff alleges damages in excess of $30,000 as a result of a motor

vehicle accident in which he was a driver. Plaintiff claims permanent bodily
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injuries, pain and suffering of both a physical and mental nature, loss of past and

future ability to earn money and loss of capacity for the enjoyment of life.

      2.      Defendants filed their Answer on February 24, 2021. Copies of all

process and pleadings from the state court file are attached as Exhibit A.

      3.      On May 27, 2021, Plaintiff served his Verified Responses to

Defendants’ Interrogatories, alleging medical bills and past lost wages combined

in excess of $30,000.

      4.      Based on     Plaintiff’s Complaint and       Verified   Responses to

Interrogatories, the alleged losses may exceed $75,000.

      5.      28 U.S.C. § 1446(b) requires that a Notice of Removal in a civil action

or proceedings be filed within thirty (30) days after receipt by Defendant(s) of a

copy of the initial pleading setting forth the claim for relief upon which the action

or proceeding is based. Additionally, under 28 U.S.C. § 1446(b)(3) a notice of

removal may also be filed within 30 days after receipt by the defendant, of a copy

of an amended pleading, motion, order or other paper from which it may first be

ascertained that the case has become removable. (emphasis added).

      6.      This Notice of Removal, filed within 30 days of service of Plaintiff’s

Verified Responses to Interrogatories, is therefore timely pursuant to 28 U.S.C. §

1446(b)(1).




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      II.    DIVERSITY JURISDICTION UNDER 28 USC § 1332(a)

      7.     Plaintiff is a citizen of Pasco County, Florida. See Compl. at ¶2.

      8.     Defendant Royal Trucking Company and its employee, Defendant

Travis Locus, are both citizens of Mississippi. See Compl. at ¶ 2–4.

      9.     While the Complaint established diversity of citizenship, Plaintiff

only alleges the damages total in excess of $30,000 but does not plead a specific

amount of damages. See Compl.

      10.    Plaintiff recently served verified Responses to Defendant’s First

Interrogatories to Plaintiff in which he claims medical damages totaling $29,368.00

in medical bills alone. See Pltf. Response to Interrogatory #12.

      11.    Plaintiff is also claiming up to $7,920.00 in lost wages and is seeking

damages for future medical expenses and pain and suffering damages as he is

claiming a permanent injuries.

      12.    Removal of this case is therefore proper under 28 U.S.C. § 1332(a)

because there is complete diversity of citizenship between Plaintiff and all

Defendants and alleged damages are more than $75,000.

      III.   VENUE

      13.    Venue is proper in this Court because this district encompasses the

Circuit Court of the Sixth Judicial Circuit, in and for Pasco County, Florida, the

forum from which the case has been removed. See U.S.C. § 1441(a).


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      IV.    NOTICE

      14.    Concurrent with filing this Notice of Removal, Defendants will file a

Notice to State Court of Removal to Federal Court with the Clerk of Circuit Court

of the Fourth Judicial Circuit, in and for Duval County, Florida and will attach a

copy of this Notice of Removal thereto. A copy of the Notice to State Court of

Removal to Federal Court is attached hereto as Exhibit B.

      V.     MISCELLANEOUS

      15.    This action has not previously been removed to Federal Court.

      16.    Defendants reserve the right to amend its Notice of Removal to cure

any procedural defects or correct any errors, or as otherwise appropriate.

      17.    If any questions arise as to the propriety of the removal of this action,

Defendants request the opportunity to present a brief and argument in support of

its position that this case is removable.

      Dated: June 25, 2021

                                 Respectfully submitted,

                                 /s/ Sage Morris-Webster
                                 SAGE MORRIS-WEBSTER, ESQUIRE
                                 Florida Bar No.: 101291
                                 WEBSTER LAW GROUP, P.A.
                                 719 Peachtree Road, Suite 200
                                 Orlando, FL 32804
                                 (407) 425-2583 – Phone
                                 (407) 422-3008 – Facsimile

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                              Primary E-mail: sage@websterlawgroup.com
                              Attorney for Defendants


                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of June, 2021, the undersigned
filed a true and correct copy of the foregoing with the Clerk of the Court which
will furnish copies to: Adrienn Toth, Esquire, of Morgan & Morgan, P.A., Counsel
for Plaintiff.


                                    /s/ Sage Morris-Webster
                                    Sage Morris-Webster, Esq.




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